         Case 1:21-cr-00670-CJN Document 156 Filed 10/20/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

v.                                                         Case No. 21-cr-670

STEVEN K. BANNON,

               Defendant.

CABLE NEWS NETWORK, INC., et al.,

               Proposed Intervenors.


                UPDATE TO CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 26.1, undersigned

counsel for the Press Coalition hereby submits and certifies the following update to the

disclosure of CBS Broadcasting Inc.:

CBS Broadcasting Inc., is an indirect, wholly owned subsidiary of Paramount Global.

Paramount Global is a publicly traded company. National Amusements, Inc., a privately held

company, beneficially owns the majority of the Class A voting stock of Paramount Global.

In addition, Paramount Global is only aware, without further inquiry, that Berkshire Hathaway

Inc., a publicly traded company, beneficially owns at least 10% of Paramount Global’s total

common stock, i.e., Class A and Class B on a combined basis, as reported on a Form 13F filed

with the Securities and Exchange Commission on August 15, 2022.
 Case 1:21-cr-00670-CJN Document 156 Filed 10/20/22 Page 2 of 2




Dated: October 20, 2022   Respectfully submitted,

                          BALLARD SPAHR LLP

                          /s/ Charles D. Tobin
                          Charles D. Tobin (#455593)
                          Maxwell S. Mishkin (#1031356)
                          Lauren Russell (#1697195)
                          1909 K Street, NW, 12th Floor
                          Washington, DC 20006
                          Telephone: (202) 661-2200
                          Fax: (202) 661-2299
                          tobinc@ballardspahr.com
                          mishkinm@ballardspahr.com
                          russelll@ballardspahr.com

                          Counsel for the Press Coalition




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